Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 1 of 6 PageID #: 1284
Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 2 of 6 PageID #: 1285
Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 3 of 6 PageID #: 1286
Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 4 of 6 PageID #: 1287
Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 5 of 6 PageID #: 1288
Case 1:03-cr-01382-NGG   Document 463   Filed 05/06/05   Page 6 of 6 PageID #: 1289
